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                                                                The Honorable Tana Lin
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 7
                         UNITED STATES DISTRICT COURT
 8                      WESTERN DISTRICT OF WASHINGTON
                               SEATTLE DIVISION
 9

10 SECURITIES AND EXCHANGE
   COMMISSION,
11                                          Case No. 2:22-cv-01009-TL
                        Plaintiff,
12
         v.                                 BRIEF FOR AMICUS CURIAE
13                                          PARADIGM OPERATIONS LP
   ISHAN WAHI, NIKHIL WAHI, AND
14
   SAMEER RAMANI,
15
                        Defendants.
16

17

18

19

20

21

22

23

24
                                Counsel for Amicus Curiae
25                            PARADIGM OPERATIONS LP

     BRIEF OF AMICUS CURIAE         COHENWILSON LLP         ADMON LAW FIRM PLLC
     PARADIGM OPERATIONS LP             dba DLx Law           www.AdmonLaw.com
                                    331 Park Avenue South      300 Lenora St., #4008
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                                     New York, NY 10010         Seattle, WA 98121
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                                  INTERESTS OF AMICUS CURIAE
 1

 2          Paradigm Operations LP (“Paradigm”) is an investment firm that backs innovative crypto

 3   companies and protocols. Issues placed before this Court have the potential to dramatically

 4   impact the design and operation of crypto companies and protocols. Paradigm seeks leave to

 5   participate in this case because it is concerned that a decision adopting the Securities and
 6   Exchange Commission’s (“SEC”) expansive and unsupported application of the Howey test,
 7
     without appreciating its impact, could have sweeping and unintended effects on Paradigm and
 8
     many others who seek to utilize new technology in a way that could benefit millions of users in
 9
     the United States and around the world.
10
                                       SUMMARY OF ARGUMENT
11

12          The SEC’s attempt to assert jurisdiction over the Defendants’ secondary trading of nine

13   crypto assets identified in the Amended Complaint (the “Tokens”) by claiming that “these crypto

14   assets were investment contracts,” (Amended Complaint dated December 22, 2022, ECF No. 27

15   (the “Amended Complaint”) at ¶100) is not supported by the facts or the law.              The SEC
16
     incorrectly asserts that, because the Tokens were initially offered and sold in transactions that
17
     purportedly fell within the definition of “investment contract” as set forth by the Supreme Court
18
     in S.E.C. v. W.J. Howey Co., 328 U.S. 293 (1946) (“Howey”), the Tokens themselves became
19
     “investment contracts”, a type of security included in the definition of that term in the Securities
20
     Exchange Act of 1934, as amended (the “Exchange Act”).               See 15 U.S.C. §78c(a)(10).
21

22   However, this is not how Howey has been applied over its 75-year history – and, as discussed

23   below, that is for good reason.

24          As an initial matter, the Tokens themselves do not intrinsically have the characteristics of
25   any type of “security” as defined in the Securities Act of 1933 (the “Securities Act”) or the

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     Exchange Act (the Exchange Act, together with the Securities Act, the “Securities Acts”). See
 1

 2   15 U.S.C. § 77a et seq.; 15 U.S.C § 78a et seq. That is, these nine Tokens, examined on their

 3   own without considering extrinsic factors, such as the manner in which the assets were initially

 4   sold, distributed, or promoted, do not purport to convey an interest in any person or entity or to

 5   create or represent any cognizable legal agreement and thus would not otherwise be considered
 6   securities. This can be seen from an examination of the computer code used to create these
 7
     assets (known as “smart contract code”).1
 8
              Recognizing this, the SEC focuses on factors extrinsic to the nature of the Tokens,
 9
     devoting much of the Amended Complaint to alleging that these assets were used by promoters
10
     in fundraising schemes that they consider investment contract transactions. Based on the thinly
11

12   supported allegations that the original investment schemes are “ongoing” (in ways not clearly

13   specified in the Amended Complaint), the SEC asks the Court to accept the novel idea that these

14   Tokens are securities for only so long as they are deemed to “embody” an ongoing investment

15   scheme (which we refer to as the SEC’s “embodiment theory”), making them effectively
16
     temporary securities.2 The Court should not endorse this unjustified expansion of securities law.
17
              Moreover, because there are no allegations in the Amended Complaint that ownership of
18
     any of the Tokens creates any legal relationship between the owner of one or more of these
19
     assets and any other person or entity, adopting the SEC’s embodiment theory would require the
20
       1
21       See Exhibit 1 for the annotated smart contract code for one of the Tokens that uses the ERC-20 token standard.
     As is evident, the code alone does not create an interest in any entity or legal right against, or undertaking of, any
22   entity.
     2
       This position is explicitly stated by the SEC in a filing in another case, S.E.C. v. Ripple Labs, Inc., No. 20-cv-
23   10832 (AT) (SN) (S.D.N.Y.) (“Ripple Labs”), which is currently pending outside this Circuit. See Ripple Labs, Pl.
     Mem. of Law in Opp’n to Mot. to Intervene, ECF No. 153 at p. 24 (where the SEC acknowledged that the purported
24   security in the case is not “simply” the crypto asset at issue, known as XRP, and instead asserted that the crypto
     asset is the “embodiment” of the facts, circumstances, promises, and expectations that constitute the purported
25   investment contract and therefore that XRP represents the purported investment contract). No judicial authority was
     cited for this proposition.

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     Court to endorse the concept of “issuer-independent” securities – securities whose existence is
 1

 2   not linked to a single identifiable issuer.3

 3            An identifiable issuer-owner relationship is critical to the analysis underlying the

 4   Amended Complaint; however, because third-party market participants, like the Defendants,

 5   must be able to practicably ascertain whether the asset they are selling or purchasing is a
 6   security. Yet under the SEC’s embodiment theory, transactions with tokens could be considered
 7
     securities transactions without (i) a defined set of rights or obligations set out in a legal
 8
     instrument (not alleged in the Amended Complaint) or (ii) the presence of an identifiable legal
 9
     relationship between an “issuer” (within the meaning of the Exchange Act) and the owner of the
10
     asset (not alleged in the Amended Complaint with respect to the Defendants).4
11

12            As a result, without a legal agreement to review or a business relationship to evaluate, the

13   Defendants, and all other market participants transacting in the Tokens are left to guess at

14   whether a court would conclude that one or more of the Tokens does, or does not, “embody” an

15   ongoing investment scheme at any given time they transact. This inevitable uncertainty would
16
     leave the Defendants and all parties transacting in one of the Tokens potentially responsible for
17
     compliance with the federal securities laws as a broker, a dealer, a national securities exchange,
18

19
      3
20       For example, the legal entity that deployed the original smart contract code that created the Token and/or the
     legal entity (or entities) that initially sold a Token to raise funds could subsequently dissolve in a legally appropriate
21   manner and the Token (i.e., the ledger entry recorded in the relevant blockchain network) would continue to exist.
     This is not possible with any other type of security known to federal securities law where, if the specific entity that
22   is the “issuer” of the security dissolved, the security would continue to exist in a legally cognizable sense.
      4
        In all of the appellate cases in this Circuit where an investment contract transaction was found to be present, there
23   has always been an identifiable business relationship (and, in almost all federal appellate cases, an actual legal
     agreement) between the party alleged to have created or promoted the relevant investment scheme and the person or
24   entity that provided the “investment of money” required by Howey. This business or contractual relationship with
     the promoter of the scheme or investment allows the person or entity making the investment of money to have
25   access to the information needed to determine whether they are engaging in a securities transaction, including
     private information.

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     an investment advisor or investment company, or otherwise without an ability to definitively
 1

 2   determine whether they are transacting in a token that “embodies” an investment contract.

 3             Even taking into account the broad remedial purposes of federal securities laws,

 4   embracing the embodiment theory would be neither an appropriate nor an effective extension or

 5   modernization of the Howey jurisprudence as a matter of public policy. And, certainly, such a
 6   deviation from current law should not be imposed retrospectively on the Defendants.
 7
     Essentially, the SEC seems to suggest that market participants should simply assume that the
 8
     Tokens and, based on public statements made by the SEC’s Chair and other senior officials of
 9
     the SEC,5 virtually all crypto assets, are securities until the SEC tells them otherwise, a power
10
     not granted to the SEC by the Congress.6
11

12
                                                     ARGUMENT
13
          I.   THE TOKENS ARE NOT “SECURITIES” UNDER ANY CURRENTLY
14             RECOGNIZED APPLICATION OF THE SECURITIES ACTS.

15             A.      In the Absence of Extrinsic Factors, the Tokens Are Not Inherently or
               Intrinsically Securities
16

17             Examined independently from any extrinsic factors, such as the manner in which they

18   were sold, distributed or promoted, the Tokens are simply ledger entries (numbers) maintained

19    5
         See, e.g., Ankush Khardori, “Can Gary Gensler Survive Crypto Winter? D.C.’s top financial cop on Bankman-
     Fried blowback”, New York Mag. (Feb. 23. 2023), available at: https://nymag.com/intelligencer/2023/02/gary-
20   gensler-on-meeting-with-sbf-and-his-crypto-crackdown.html (in which Chair Gensler is quoted as stating that
     “everything other than bitcoin” is a security because “there’s a group in the middle and the public is anticipating
21   profits based on that group.”); see also Gary Gensler, “Kennedy and Crypto”, Speech (Sept. 8, 2022), available at:
     https://www.sec.gov/news/speech/gensler-sec-speaks-090822 (“Of the nearly 10,000 tokens in the crypto market, I
22   believe the vast majority are securities”); see also Gary Gensler, “A ‘New’ New Era,” Prepared Remarks Before the
     International Swaps and Derivatives Association Annual Meeting (May 11, 2022), available at:
     https://www.sec.gov/news/speech/gensler-remarks-swaps-and-derivatives-association-annual-meeting-051122
23   (expressing the view that “[w]ithout prejudging any one [crypto] token, most crypto tokens are investment contracts
     under the Supreme Court’s Howey Test.”).
24
       6
         It should be noted that amicus expresses no view as to whether the individuals or entities that offered or sold
25   these assets violated the federal securities laws at any point; we address only the question of whether the facts
     alleged in the Amended Complaint support a finding that the Defendants engaged in securities transactions.

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     by a network of computers operating a common protocol. This is shown through an examination
 1

 2   of a representative sample of the smart contract code that created the Tokens. See Exhibit 1.7

 3           It is possible that a token created and sold by a company could be paired with a legally

 4   recognized interest in, or an enforceable agreement of, that company. In such a case, it would be

 5   this interest or agreement that would constitute the “security”. For example, a company could
 6   expressly designate a given token as the means by which an owner of the token could evidence
 7
     its ownership interest in the company or enforce a traditional legal agreement against the
 8
     company.8 In this way, the token would theoretically function similarly to a stock or bond
 9
     certificate.
10
             However, none of the Tokens are alleged to be associated with a legally recognized
11

12   interest in any company nor do they create any enforceable legal right for the benefit of the

13   owner against any third party. Rather, the Amended Complaint relies on a range of vague

14   statements made by persons presumed to be associated with the companies or unincorporated

15   businesses that initially sold the tokens. For example, XY Labs, Inc., a company associated with
16
     the development of the XY token, is alleged to have posted a “roadmap” with target dates for the
17
     development of the XYO Network. Amended Complaint, at ¶149. However, it is not alleged
18
     that this “post” was intended to create a binding obligation of XY Labs to meet this roadmap,
19

20       For a more in-depth look at how crypto assets in general are created (“minted”), transferred, and destroyed
         7

     (“burned”), see David J. Kappos, Lee A. Schneider, Daniel M. Barabander, & Callum A.F. Sproule, “Fuzzy
21   Tokens: Thinking Carefully about Technical Classification Versus Legal Classification of Cryptoassets,” available
     at https://btlj.org/wp-content/uploads/2023/03/Kappos_WebFile_02-28-23.pdf
22   8
       For an example of a company intentionally associating a crypto asset with a specific legal promise, see
     Amendment 11 to INX Limited Registration Statement on Form F-1 (“each INX Token held by parties other than
23   the Company, shall entitle its holder to receive a Pro Rata Portion … of an aggregate amount which equals 40% of
     our cumulative Adjusted Operating Cash Flow, net of Adjusted Operating Cash Flows that have already formed a
24   basis            for              a              prior             distribution”)         available           at
     https://www.sec.gov/Archives/edgar/data/0001725882/000121390020023078/ea125736-
25   f1a11_inxlimited.htm#a_014.


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     enforceable by holders of the XY token. Rather, the post can at most be alleged to create general
 1

 2   expectations on the part of future purchasers of the XY tokens, a concept which is discussed

 3   below.

 4            These and other statements set out in the Amended Complaint may be sufficient to allow

 5   a court to conclude that the various fundraisings utilizing the Tokens were “investment contract
 6   transactions” (discussed below), but they do not establish that these assets are themselves
 7
     intrinsically “securities” by reference to an identified interest or agreement. As a result, other
 8
     than potentially being offered and sold as part of an “investment contract”, the Tokens do not fall
 9
     within any of the other enumerated types of “security” in the Securities Acts.
10

11            B.    The Tokens Themselves Are Not Securities Because They May Have Initially
              Been Sold in Investment Contract Transactions.
12

13                   1.    The Allegations in the Amended Complaint Are Only Relevant to the
                     Question of Whether the Tokens Were Initially Sold in Investment Contract
14
                     Transactions.
15
              The Amended Complaint focuses on the actions of the persons or entities that acted as
16
     “promoters” of the Tokens, noting that each of the Tokens “were offered and sold by an issuer to
17
     raise money that would be used for the issuer’s business”. Amended Complaint, at ¶101. Under
18
     current law, a “scheme” to fundraise by offering an asset that is not otherwise a security (a “non-
19

20   security asset”, whether it be animals being grown for their pelts, whiskey aging in barrels, or a

21   crypto asset), together with some accompanying undertakings on the part of the fundraising

22   entity to increase that asset’s value over time or to produce income from the asset when made to
23   a person with no “consumptive interest” in that asset will be an investment contract transaction.
24

25


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     See Howey, 328 U.S. at 299-300.9                In Howey, the Supreme Court evaluated whether the
 1

 2   circumstances of a given contract, transaction or scheme involves: (1) an investment of money

 3   (2) in a common enterprise (3) with an expectation of profits to come (4) solely10 from the efforts

 4   of the promoter or a third party. See id. at 298.

 5            The Supreme Court and Ninth Circuit appellate courts have consistently noted that
 6   whether an investment contract scheme is present will be based on all of the facts and
 7
     circumstances involved.11          However, the Amended Complaint provides relatively brief and
 8
     selective descriptions of the activities purportedly giving rise to the underlying investment
 9
     contract transactions that are supposedly “embodied” by the Tokens.12 For example, in an
10
     attempt to show that purchasers of Amp tokens from Flexa invested in a “common enterprise”,
11

12   the SEC alleges that the Amp token can be staked in collateral pools to secure the network and

13   that “[i]f the collateral pools are profitable, investors who stake Amp can share in the profits”.

14   Amended Complaint, at ¶114. Yet the Amended Complaint does not present any details as to

15   how many holders staked Amp, the amount of profit they earned, those purchasers’ reasons for
16

17     9
         In a much smaller number of cases under Howey, there is an unusual legal instrument that sets out certain rights
     or interests conveyed to an owner but which does not fall clearly within any of the other enumerated categories in
18   the definitions of “security” in the Securities Acts. Examples include a flexible fund annuity offered by an insurance
     company to its customers (S.E.C. v. United Benefit Life, 387 U.S. 202 (1967)), and nonnegotiable capital shares in a
19   state-chartered savings and loan association (Tcherepnin v. Knight, 389 U.S. 332 (1967)). However, none of the
     Tokens belong to this type of investment contract arrangement.
20
      10
         This standard has been modified in subsequent decisions to no longer require that the efforts made are “solely”
21   from the others involved in the scheme, however this distinction is not material to the arguments made in this brief.

22
      11
         See, e.g., Landreth Timber Co. v. Landreth, 471 U.S. 681, 689 (1985) (“an unusual instrument could be
     considered a "security" if the circumstances of the transaction so dictated.”)
23    12
         The facts alleged with respect to each of the nine Tokens in the Amended Complaint run between approximately
     three pages to approximately six pages in length. In contrast, the SEC’s complaint against LBRY, Inc. alleging sales
24   of crypto assets in violation of Section 5 of the Securities Act ran 16 pages and the SEC’s first amended complaint
     on a similar theory against Ripple Labs, Inc. and two of its senior executives ran 79 pages. See S.E.C. v. LBRY, Inc.,
25   D.N.H. Case No. 1:21-CV-00260 D.E. 1 (March 29, 2021), and S.E.C. v. Ripple Labs, Inc. et al., No. 20-10832
     (S.D.N.Y. Dec. 22, 2020), ECF No. 4.

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     acquiring Amp, or whether they had other strategic reasons for participating in the network.
 1

 2   Likewise, we are told that 20% of Amp’s predecessor token was allocated to the founding team

 3   and an employee pool. See Amended Complaint, at ¶116. Yet the Amended Complaint fails to

 4   specify how many of the recipients stayed with Flexa or the extent to which their contributions

 5   were material to the success of the project (as opposed to, say, factors outside the control of these
 6   individuals) in order to support the allegation of a common enterprise.
 7
             In the absence of robust pleading, amicus believes that it is not possible to conclude that
 8
     the allegations in the Amended Complaint are sufficient to support even the basic claim that the
 9
     Tokens were initially sold pursuant to investment contract transactions.
10

11                    2.     Even If the Court Finds that the Allegations in the Amended
                      Complaint Are Sufficient to Support a Claim that the Tokens Were Initially
12                    Sold by Promoters Pursuant to Investment Contract Transactions, the SEC
13                    Fails to Correctly Apply the Howey Test to the Defendants’ Specific
                      Transactions.
14

15           To the extent that the SEC wishes to allege that the Defendants’ purchases and sales of

16   the Tokens were also investment contract transactions, under current law in the Ninth Circuit, all
17   four Howey factors must be established at the time each transaction took place. This principle is
18
     illustrated in Hocking v. Dubois, 885 F.2d 1449 (9th Cir. 1989) (en banc) (“Hocking II”), where
19
     the full Ninth Circuit analyzed a transaction under Howey that did not directly involve as a party
20
     the entity that would purportedly be the “issuer” of the alleged investment scheme (a real estate
21
     developer).13
22

23           In Hocking II, an individual investor looking for an income-producing property

24   purchased a rentable condominium unit from the unit’s original purchasers in a secondary

25    13
         For a more detailed discussion of Hocking II, see Lewis Cohen et al., The Ineluctable Modality of Securities
     Law: Why Fungible Crypto Assets Are Not Securities (Nov. 10, 2022) at pp. 58 – 61.

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     transaction based on information about the unit developer’s rental scheme provided to Hocking
 1

 2   by his broker, Dubois. When the deal went sour, Hocking sued his broker, alleging that the

 3   secondary sale was an investment contract transaction subject to the antifraud provisions of the

 4   Exchange Act in which the broker made misrepresentations. The District Court found that

 5   Hocking’s transaction did not constitute an investment contract. See Hocking v. Dubois, 839
 6   F.2d 560, 562 (9th Cir. 1988) (“Hocking”) (describing trial court opinion), modified on reh'g en
 7
     banc, 885 F.2d 1449 (9th Cir. 1989) (en banc). However, a tribunal of the Ninth Circuit
 8
     reversed, finding that an “offering of a condominium with [a rental pool agreement]
 9
     automatically makes the [transaction an investment contract].”’ Id. at 565. The SEC also took
10
     the highly unusual step of submitting an amicus brief to the court arguing that the facts in
11

12   Hocking did not warrant the finding of an investment contract transaction. After a rehearing by

13   the full Ninth Circuit, the outcome was reversed again, to find that the arrangement did not

14   automatically constitute an investment contract transaction.       Accordingly, the case was

15   remanded back to the lower court for further fact finding. On rehearing, the Hocking II majority
16
     reasoned:
17
            We agree with defendants and amici that the three-judge panel may have written too
18          broadly its conclusion that so long as a rental pool ‘option’ exists, all secondary market
            sales necessarily involve a security. Such a per se rule would be ill-suited to the
19          examination of the economic reality of each transaction required by Howey.
20   Hocking II, 885 F.2d at 1462 (emphasis added). Critically, the majority in Hocking II did not
21
     assume that because the purchase of the condominium and the rental pool agreement directly
22
     from the developer would have constituted an investment contract transaction, that the purchase
23
     of those same items in a transaction with a secondary seller through the broker should
24
     automatically be treated as an investment contract transaction as well. See id. at 1456. Rather,
25
     the majority’s analysis relied on an application of the Howey test to the specific facts and
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     circumstances surrounding Hocking’s (secondary market) purchase of the condominium and the
 1

 2   rental purchase agreement before them. Following Hocking II, this Court should dismiss the

 3   SEC’s Amended Complaint for its failure to plead allegations that the Defendant’s specific

 4   transactions in the Tokens met the definition of “investment contracts” at the time and in the

 5   context they took place.
 6
                    3.     Instead of Establishing that the Defendants’ Specific Transactions in
 7                  the Tokens Meet the Howey Test, the Amended Complaint Inappropriately
                    Alleges that these Assets Are Securities Because the Promoters’ Schemes Are
 8
                    “Continuing”.
 9
            To correctly apply the Howey test to the Defendants’ transactions, the Amended
10
     Complaint would need to show how each of such transactions met all four prongs of the Howey
11
     test at the time they occurred – something that the Amended Complaint fails to do. Instead, the
12

13   Amended Complaint alleges that facts which attempt to establish that the Tokens were sold by

14   promoters in investment schemes that are “ongoing,” somehow resulting in the Defendants’

15   purchases and sales separately constituting investment contract transactions.          This is a

16   misapplication of Howey that departs from all precedent.
17          Neither the Ninth Circuit nor any other federal appellate court has ever suggested that the
18
     object of the investment contract (i.e., an asset, like the Tokens, that is not intrinsically a
19
     security), if transferred between unaffiliated third parties, in any way represents or “embodies”
20
     the underlying investment scheme.      See Lewis Cohen et al., The Ineluctable Modality of
21
     Securities Law: Why Fungible Crypto Assets Are Not Securities (“Why Fungible Crypto Assets
22

23   Are Not Securities”) (Nov. 10, 2022), at pp. 55-58, attached as Exhibit 2. Rather than following

24   75 years of accepted Howey jurisprudence by focusing its enforcement efforts on the actions of

25   the persons it has identified as the promoters of investment schemes involving the Tokens, the


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     SEC’s Amended Complaint instead seeks to apply the Exchange Act to the Defendants, who are
 1

 2   third-party purchasers of the Tokens. This unsupported expansion of the Securities Acts shifts

 3   the burden of compliance from the persons who may have sold non-security assets to raise funds

 4   for a business without SEC registration to the third-party owners of these assets – the very

 5   persons the Securities Acts are intended to protect. See Amended Complaint, at ¶100.
 6          The locus of the SEC’s misreading of Howey in the context of secondary transactions in
 7
     non-security assets, such as the Tokens, is the “common enterprise” element of the test. In
 8
     fundraisings that are considered investment contract transactions, persons provide capital to the
 9
     “enterprise” in exchange for some non-security asset that, generally, the purchaser has no
10
     consumptive interest in. The common enterprise exists due to the shared “investment of money”
11

12   between the asset purchaser and the promoter. However, absent unusual facts not alleged in the

13   Amended Complaint, secondary market purchasers of non-security assets initially sold in an

14   investment contract transaction do not provide any funding to the relevant promoters and

15   therefore cannot be said to be in a “common enterprise” with the promoter or other owners of the
16
     asset within the meaning of Howey.
17
            In their analysis of each of the Tokens, the SEC attempts to establish the existence of a
18
     “common enterprise” primarily on the basis that the Token owners share a “common interest”
19
     with the alleged promoters. For example, “Amp investors share a common interest with Flexa’s
20
     management team”. See Amended Complaint, at ¶116. “DerivaDEX and its management team
21

22   retain the vast majority of the ‘emitted’ DDX token, creating a common interest between

23   management and other investors”. Amended Complaint, at ¶138. However, this conclusion is

24   mistaken. There are many examples where non-security assets are purchased partially or entirely
25   for their profit potential and derive their value significantly from the purchaser’s reasonable

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     expectations of the actions of “others”. Absent some other relationship between the parties, this
 1

 2   relatively familiar arrangement does not create a “common enterprise” between the asset

 3   purchaser and the “others” within the meaning of Howey. These include:

 4              •   A speculative buyer that made a secondary purchase of a parcel of real estate that
 5                  was part of a larger development may reasonably expect the developer that owns
 6
                    many of the other nearby parcels to add features to the development that would
 7
                    increase the value of all of these parcels based on statements made in advertising
 8
                    brochures concerning the development published by the developer;
 9
                •   A fund acquiring certain cartel-supported commodities (like diamonds or crude
10
                    oil) for investment purposes may reasonably expect the relevant cartel (e.g., De
11

12                  Beers or OPEC) to maintain production levels that support publicly announced

13                  unit price targets that would benefit both the buyer and the cartel members;

14              •   A hobbyist collector/investor in children’s limited-edition plush dolls may see a
15
                    social media post by the dolls’ manufacturer and reasonably expect a particular
16
                    line of dolls to be discontinued by the manufacturer after a run of a certain
17
                    volume, increasing scarcity and therefore price of the dolls, providing profit to the
18
                    buyer and enhancing demand for future toys to be sold by the manufacturer;
19
                •   A purchaser of bitcoin might reasonably expect the declining market price of the
20

21                  asset to stabilize following the public statements of the CEO of a publicly traded

22                  technology company that the company would maintain their extensive holdings of

23                  bitcoin for the foreseeable future, providing an economic benefit to the purchaser
24                  and the public company.
25


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     In none of these cases would a court in the Ninth Circuit have judicial precedent to find that the
 1

 2   third-party asset buyer is in a “common enterprise” within the meaning of Howey. The fact that

 3   the buyer had a shared economic interest with the real estate developer, the commodities cartel,

 4   the doll manufacturer, or the public company, which had made public statements that could

 5   reasonably be interpreted as having a positive impact on the price of the asset is not sufficient to
 6   find a common enterprise.
 7
            To bolster the “common interest” argument, the Amended Complaint references a highly
 8
     selective set of statements made by the parties that deployed the smart contract code creating the
 9
     Tokens or otherwise sold these assets to others. However, not only is it not alleged that the
10
     Defendants were aware of these facts, in many cases the SEC’s alleged facts are not ones it
11

12   would even be possible for the Defendants (or any other third party) to be aware of. For

13   example, the statements “Rally … applied to Coinbase to have RLY listed” (Amended

14   Complaint, at ¶127); “DerivaDEX and its management team retain the vast majority of ‘emitted’

15   DDX tokens” (Amended Complaint, at ¶138); “XY’s day-to-day operations and Board of
16
     Directors are run by a centralized leadership group that include [sic] two of XY’s three co-
17
     founders” (Amended Complaint, at ¶ 154) each contain non-public information.
18
            Yet the Amended Complaint suggests that, as a matter of law in the Ninth Circuit, the
19
     Court should accept that the very brief periods of common ownership of the Tokens between the
20
     Defendants and the promoters of the various schemes associated with these assets, without any
21

22   alleged contractual or other relationship between the parties or even allegations that the

23   Defendants were aware of the facts alleged about these schemes, is sufficient to establish a

24   “common enterprise” for purposes of Howey. Having cited limited evidence to support their
25   assertion that the initial fundraising sales of the Tokens constituted investment contract

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     transactions, the SEC then completely fails to present any meaningful factual allegations to
 1

 2   support the proposition that the Defendants’ secondary transactions in those assets are also

 3   investment contract transactions, instead making a cursory observation that “the hallmarks of the

 4   definition of a security” continue to exist “at all times relevant to the conduct alleged in [the

 5   Amended Complaint]”. Amended Complaint, at ¶105.
 6
                    4.     In light of the Fundamental Deficiencies with the Amended
 7                  Complaint’s Traditional Howey Analysis, We Are Left with an Argument
                    that, in Effect, the Tokens “Embody” the Original Promoters’ Alleged
 8
                    Investment Schemes and Thus “Become” Securities While these Schemes are
 9                  Ongoing.

10          The last way the SEC may seek to persuade the Court that the Tokens “are” securities

11   (without having to establish how the Defendants entered into separate investment contract
12   transactions) is by asserting that these assets “embody” the underlying investment schemes and
13
     thus are temporary securities for so long as the original scheme is “ongoing.” In Ripple Labs,
14
     despite citing no legal authority, the SEC took the position that the token, known as XRP,
15
     although not itself a security, function as the “embodiment” of the facts, circumstances,
16
     promises, and expectations that constitute the purported investment contract and therefore that
17

18   the crypto asset represents the purported investment contract. See Supra fn. 2.

19          However, the SEC has not cited any case law for the proposition that an asset that itself is

20   not a security can “evidence” an investment contract and thus become a temporary security,

21   either in the Amended Complaint or, to the knowledge of amicus, anywhere else. In fact, a
22   review of the case law in Why Fungible Crypto Assets Are Not Securities demonstrates that this
23
     is not something found elsewhere in the entirety of Howey appellate jurisprudence. Holding
24
     aside the merits of adopting the embodiment theory (discussed below), it would be wholly
25


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     inappropriate to allow charges to be brought against the Defendants based on a novel theory of
 1

 2   the law of which the Defendants could not have had any knowledge.

 3

 4    II.     THE SEC’S ATTEMPTED EXPANSION OF HOWEY JURISPRUDENCE
              WHICH WOULD EFFECTIVELY TREAT CRYPTO ASSETS AS SECURITIES
 5            BASED ON EXTERNAL FACTORS ON A TEMPORARY BASIS, IS
              UNFOUNDED, UNWORKABLE AND CONTRARY TO THE FUNDAMENTAL
 6            STRUCTURE OF THE FEDERAL SECURITIES LAWS, WHICH ASSUMES A
              LEGAL RELATIONSHIP BETWEEN AN ISSUER OF A SECURITY AND THE
 7            OWNER.
 8
              The SEC has suggested that the “flexibility” of the Howey test should allow them to
 9
     extend its scope to any circumstance in which it concludes that investor protection is required.14
10
     In order to capture secondary activity in most crypto assets within the jurisdiction of the SEC,
11
     the Amended Complaint stretches the Supreme Court’s reasoning in Howey and its progeny past
12
     its breaking point. The catch-all concept in the definitions of “security” in the Securities Acts,
13

14   “investment contract”, has been used to bring fundraising transactions that elevate form over

15   substance within the ambit of the federal securities laws. However, until now, the concept of

16   “investment contract” has not been extended to activities of companies or individuals not directly
17   or indirectly part of those fundraising transactions, and that is for good reason.
18
              Market participants purchasing or selling an asset must be able to evaluate on their own
19
     whether the asset they transact in would be considered a security under the Securities Acts.
20
     Where the asset consists of an instrument that sets forth the rights and benefits that ownership of
21
     the asset conveys, market participants can conduct that analysis and reach a reliable conclusion.
22
     However, it is not reasonable to expect the Defendants or other purchasers of the Tokens to
23

24
       14
            See, e.g., Gary Gensler, “Kennedy and Crypto”, Speech (Sept. 8, 2022), available at:
25   https://www.sec.gov/news/speech/gensler-sec-speaks-090822 (stating, “[n]othing about the crypto markets is
     incompatible with the securities laws. Investor protection is just as relevant, regardless of underlying technologies.”)

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     attempt to locate the original sellers of the crypto assets (and, potentially, loosely affiliated
 1

 2   entities or individuals), monitor their ongoing statements across all media and communication

 3   channels and their other potentially relevant activities (e.g., public appearances) and make a

 4   determination on their own as to whether the original investment scheme is still “ongoing” and

 5   as such determine its status as a security.
 6           It is also unclear how the Defendants or other purchasers of the Tokens should weigh
 7
     different statements by different parties,15 and how these statements may (or may not) persuade a
 8
     court that a “common enterprise” and the other elements of the Howey test are present. In the
 9
     SEC’s view, it appears that as long as there are one or more entities that both own some
10
     (indeterminate) amount of the Token and are in any way promoting the benefits of the associated
11

12   protocol on an “ongoing” basis, then these circumstances should be sufficient to create a

13   “common enterprise” resulting in the crypto asset embodying the purportedly ongoing

14   investment scheme. But, as discussed above, such an approach would not apply in similar

15   circumstances in the case of real estate, crude oil, diamonds, plush dolls, or bitcoin – why should
16
     it apply to the Tokens? This approach would be wholly inconsistent with how statements with
17
     respect to other non-security assets made by third parties are viewed – even where there is a
18
     shared economic interest among owners of the asset in question.
19
             The embodiment theory inherently conflicts with a basic assumption of the federal
20
     securities laws: that all securities will have an “issuer”—an identifiable person or entity that
21

22   creates the security and against whom a securityholder’s rights can be exercised. Each type of

23   security enumerated by Congress in the Securities Acts, other than “investment contracts” which

24
       15
          For example, if a statement is made in a blog post is that more relevant than a statement made in a tweet? What
25   if there are contradictory or apparently superseding statements made by different persons working on a project?
     How should statements made by person no longer actively involved in a project be weighed?

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     are defined by case law, of necessity involves a legal relationship volitionally established by an
 1

 2   identifiable legal entity that acts as the issuer of the security and the various other parties who,

 3   from time to time, are owners of that. This legal relationship can be determined by third parties

 4   through an examination of a legal instrument – the “security” – with obligations on the part of

 5   the issuer that are readily discernible from an examination of the written documentation.
 6            If the Court were to adopt the embodiment theory, it would present insurmountable
 7
     difficulties for market participants in the U.S. seeking to buy, hold or sell crypto assets. Neither
 8
     the Defendants nor any other purchaser of a Token in a secondary market transaction has any
 9
     way of knowing or determining all of the “facts, circumstances, promises, and expectations” that
10
     might be deemed by a court reviewing the circumstances in hindsight to be “embodied” in any
11

12   given crypto asset. Moreover, many of these circumstances relevant to a Howey analysis may

13   not be matters of the public record or capable of discovery by third parties who lack the SEC’s

14   subpoena power.

15            To make matters even more complicated, in such circumstances, courts do not rely solely
16
     on the contractual agreements between the parties to evaluate whether the arrangement
17
     constituted an investment contract transaction or scheme, a point driven home in this Circuit by
18
     the SEC themselves.16 As a result, even if the Defendants or other persons transacting in the
19
     Tokens had access to all relevant documents and public statements about the assets and the
20
     related protocol, other non-public actions or statements could be deemed to supersede the public
21

22   information concerning the assets and the promoters available to the Defendants.

23
      16
         In the SEC’s amicus curiae brief filed in Salameh, et al. v. Tarsadia Hotel et al., 726 F.3d 1124 (9th Cir. 2013),
24   a case involving purchases of condominiums in the Hard Rock Hotel San Diego alleged to be a disguised securities
     transaction by the plaintiffs, they write that the district court “placed dispositive weight on these representations [in
25   the Purchase Contract] and, in doing so, failed to fully consider the broader realities of the overall transaction.” Br.
     of Amicus Curiae SEC at 16-17.

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             In addition, to correctly apply the Howey test, a party would have to make its evaluation
 1

 2   each and every time a specific transaction takes place when the facts and circumstances could be

 3   constantly changing and third parties seeking to own, use and transfer crypto assets do not have

 4   the economic resources or incentive to constantly monitor this information. As demonstrated by

 5   the research undertaken in Why Fungible Crypto Assets Are Not Securities, it is hardly a “fact”
 6   that each and every time a specific transaction takes place, the transaction is a securities
 7
     transaction. Indeed, in totality, of the 253 relevant federal appellate decisions reviewed, a
 8
     majority (56%) of those relevant disputes end either in a conclusion by the court that no
 9
     investment contract was present and thus that the Securities Acts should not apply to the
10
     transaction (42%), or remand for further fact-finding (12%).         More specifically, the Ninth
11

12   Circuit, which has thus far been responsible for 27% of all federal appellate investment contract

13   cases, has found that an investment contract was not present, or remanded for further

14   proceedings, in 53% of all of its decisions, thus highlighting that a Howey analysis is particularly

15   challenging to get right. Implementing the embodiment theory would present insurmountable
16
     difficulties for market participants to evaluate all the applicable facts and circumstances on their
17
     own, or risk strict liability violations of the Securities Acts.
18
                                                CONCLUSION
19
             There is no basis in current law to classify the Tokens as “investment contracts” when
20
     purchased and sold by the Defendants because these crypto assets are not themselves securities
21

22   and the Defendants’ purchases and sales of the Tokens would not be properly characterized as

23   investment contract transactions under current interpretations of the Howey Test in the Ninth

24   Circuit. In addition, there is no current jurisprudential authority for asserting that the Tokens
25   somehow “embody” an ongoing investment scheme being undertaken by parties unrelated to the

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     Defendants. The SEC ignores the correct application of Howey to each transaction and instead,
 1

 2   attempts to create a de facto presumption that most, if not all, crypto assets are themselves

 3   investment contracts despite the fact that there is no legal or logical basis for such a presumption.

 4   This approach is untethered from the powers conferred on the SEC by Congress.

 5          For the aforementioned reasons, the SEC has not met its burden of alleging facts
 6   sufficient to establish that the Defendants entered into securities transactions, requiring the Court
 7
     to grant the Defendants’ Motion to Dismiss.
 8
            Dated: March 28, 2023                  ADMON LAW FIRM PLLC
 9
                                                   By /s/Moshe Y. Admon
10                                                 Moshe (Jeff) Admon, WSBA #50235
                                                   300 Lenora St., #4008, Seattle, WA 98121
11                                                 T: (206) 739-8383 | F: (206) 494-0001
12                                                 Email: jeff@admonlaw.com

13                                                 COHENWILSON LLP
                                                   Lewis Rinaudo Cohen, (Admitted pro hac vice)
14                                                 Gregory Strong, (Admitted pro hac vice)
                                                   Weiyang Chen, (Admitted pro hac vice)
15                                                 Freeman Lewin, (Admitted pro hac vice)
                                                   331 Park Avenue South, New York, NY 10010
16
                                                   T: (212) 984-6845
17                                                 Email: lewis.cohen@dlxlaw.com
                                                   Email: greg.strong@dlxlaw.com
18                                                 Email: sarah.chen@dlxlaw.com
                                                   Email: freeman.lewin@dlxlaw.com
19
                                                   PARADIGM OPERATIONS LP
20                                                 Rodrigo Seira, (Admitted pro hac vice)
                                                   548 Market Street, San Francisco, CA 94104
21
                                                   T: (415) 986-9283
22                                                 Email: rodrigo@paradigm.xyz

23                                                 Attorneys for Amicus Curiae Paradigm Operations
                                                   LP
24

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